                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

OTTO E. THORNBURG, on behalf of              )
himself and all others similarly situated,   )
                                             )         No. 4:19-cv-1025-NKL
                       Plaintiff,            )
                                             )
v.                                           )
                                             )
FORD MOTOR COMPANY,                          )
                                             )
                       Defendant.            )

     SUGGESTIONS IN SUPPORT OF DEFENDANT FORD MOTOR COMPANY’S
          MOTION TO EXCLUDE PLAINTIFF’S EXPERT MARK CAL




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                                      PRELIMINARY STATEMENT

          In support of class certification, Plaintiff offers the opinion of Dr. Mark Cal, who promises

that he can determine which properties within Plaintiff’s proposed class area have suffered

“nuisance odors” or “odor threshold exceedences” if the Court certifies a class. Dr. Cal’s opinions

should be excluded for two reasons.

          First, Dr. Cal hasn’t actually done any real work—he simply says that there is a way to

provide what Plaintiff needs to meet Rule 23’s strict requirements. Courts regularly exclude

experts at the class stage where they have done little to no work—offering mere promises that

future work can satisfy the required class-wide determinations. That is exactly what Dr. Cal does

here. That alone warrants exclusion of the opinions in his report.

          Second, Dr. Cal’s opinions will not be helpful to the Court and are not a fit for determining

whether Plaintiff can satisfy Rule 23’s commonality and predominance requirements. Dr. Cal has

not actually opined that “nuisance odors” impact the proposed two-mile radius class area uniformly

as Plaintiff states in his brief. Instead, Dr. Cal only opines that his model might show which, if

any, properties may have been impacted. This concedes that mini-trials will have to occur

regarding where these alleged “nuisance odors” exists. Moreover, Dr. Cal’s model would as

described only partially measure liability and damages. By only addressing the presence of

“nuisance odors,” it would not quantify whether any inconvenience were “substantial” or merely

slight.

          Thus, his opinions are not helpful and are not a fit for this case for commonality or

predominance because he hasn’t opined that he could show uniform impact throughout the class

area.

          For these two reasons, Dr. Cal’s opinions should be excluded.



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                                          LEGAL STANDARD

       Testimony based on scientific, technical, or other specialized knowledge is admissible only

if: (1) it is based upon sufficient facts or data; (2) it is the product of reliable principles and

methods; and (3) the witness has applied the principles and methods reliably to the facts of the

case. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 590 (1993). The expert’s proffered

opinions must also “fit” the particular facts of the case. Loomis v. Wing Enters., Inc., 2013 WL

237479, at *3 (W.D. Mo. Jan. 22, 2013) (Laughrey, J.).

       “Under the framework developed in Daubert, trial courts must serve as ‘gatekeepers’ to

‘insure that proffered expert testimony is both relevant and reliable.’” Wagner v. Hesston Corp.,

450 F.3d 756, 758 (8th Cir. 2006) (quoting Anderson v. Raymond Corp., 340 F.3d 520, 523 (8th

Cir. 2003)). At the class certification stage in the Eighth Circuit, courts apply a “tailored” Daubert

analysis. See in re Zurn Pex Plumbing Prods. Liab. Litig., 644 F.3d 604, 613 (8th Cir. 2011). This

requires a “focused” analysis that scrutinizes the reliability of the expert testimony in light of the

criteria for class certification. In re Hardieplank Fiber Cement Siding Litig., 2018 WL 262826, at

*8 (D. Minn. Jan. 2, 2018).

       Certification under Rule 23 “is proper only if, after a rigorous analysis, the trial court is

satisfied that all of the Rule 23 prerequisites have been satisfied.” Wal-Mart Stores, Inc. v. Dukes,

564 U.S. 338, 350-51 (2011). To satisfy Rule 23(a)’s commonality requirement, a plaintiff must

raise common questions that “generate common answers apt to drive the resolution of the

litigation.” Id. at 350. Rule 23(b)’s predominance requirement is “far more demanding.” Amchem

Prods., Inc. v. Windsor, 521 U.S. 591, 624 (1997). While a plaintiff must “be prepared” to present

evidence for Rule 23(a) criteria, “the party must also satisfy through evidentiary proof at least one

of the provisions of Rule 23(b).” Comcast v. Behrend, 569 U.S. 27, 33 (2013) see also Postawko

v. Mo. Dep’t Corrections, 910 F.3d 1030, 1035 (8th Cir. 2018) (quoting Comcast, 569 U.S. at 33).
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           Predominance requires a showing that those supposedly-common questions predominate

over individual ones such that liability can be proven by common evidence for the entire class.

See Ebert v. Gen. Mills, Inc., 823 F.3d 472, 479 (8th Cir. 2016). In environmental contamination

suits, if liability must be determined property-by-property, a plaintiff cannot satisfy predominance.

See id. (holding that property-by-property analysis required to resolve liability in vapor

contamination case).

           The party offering an expert’s testimony bears the burden of proving its reliability.

Wagner, 450 F.3d at 758.

                                           OPINIONS OF MARK CAL

           Plaintiff offers Dr. Mark Cal as an expert who can utilize AERMOD modeling to make

class-wide determinations of alleged odor spread throughout the class area. Dr. Cal opines that

dispersion of “odorous compounds” from the Ford facility “can be modeled.” (Doc. 56-9 at 3 ⁋

5.)1 He opines that a “detailed atmospheric dispersion modeling analysis . . . can determine the

frequency, intensity and location of nuisance odors within the class area. This would allow for a

determination of which residential properties within the class area are impacted by Ford

Claycomo’s emissions and to what extent.” (Id. ⁋ 6) He offers no specific analysis under any

model.

           Plaintiff cites to Dr. Cal’s opinions in support of commonality and predominance. For

commonality, Plaintiff posits that Dr. Cal “will provide objective data from which the Court and

factfinder can determine that the Defendant’s emissions were dispersed throughout the class area

. . . during the merits phase of the litigation.” (Doc. 56 at 14.) For predominance, Plaintiff asserts

that Dr. Cal “establish[es] that objective and scientific methods can determine . . . the extent and



1
    For ease of reference, Ford cites to the ECF pagination in the footer of Dr. Cal’s report.

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severity of Defendant’s noxious odor emissions across the class area.” (Doc. 56 at 23.)

                                                   ARGUMENT2

          I.       Dr. Cal’s failure to provide any actual analysis warrants exclusion of his
                   opinions.

         To satisfy Rule 23’s strict requirements, Plaintiff must provide classwide evidence of

injury, causation, standing, and damages. Dr. Cal’s report purports to provide classwide evidence

for injury and causation.

         At bottom, Dr. Cal promises that if the Court certifies a class, he can perform work.

Specifically, he could identify within the proposed class area which, if any, properties were

impacted by “nuisance odors.” (Doc. 56-9 at 3 ⁋ 5.) Yet he concedes that he has not actually

performed any analysis. (See id.) This is insufficient.

         Courts across the country regularly exclude experts at the class certification stage where

there is merely a “promise[]” that they can perform a future analysis. Pedroza v. PetSmart, Inc.,

2013 WL 1490667, at *3-4 (C.D. Cal. Jan. 28, 2013) (excluding expert opinion at class

certification stage where expert merely “promise[d]” that he would be able to complete survey that

would support commonality); see, e.g., Littler v. Ohio Ass’n Pub. Sch. Employees, 2020 WL

1861646, at *7 (S.D. Ohio Apr. 14, 2020) (excluding in part expert opinion at class certification

stage where analysis of “limited” data set resulted in opinion that was “pure speculation”); In re

ConAgra Foods, Inc., 302 F.R.D. 537, 552 (C.D. Cal. 2014) (excluding expert at class certification

stage because all court had was expert’s “assurance that he can build a model to calculate

damages”); see also Cruson v. Jackson Nat’l Life Ins. Co., 954 F.3d 240, 258 (5th Cir. 2020)

(reversing class certification where damages expert “offered barely a ‘preliminary overview’” of


2
  Ford is not at this point challenging the use of AERMOD as a general matter—only Dr. Cal’s failure to actually
use it. Ford reserves its right to fully challenge the opinions of Plaintiff’s experts if and when they actually supply
their data, inputs, and apply their their methodologies, including how Dr. Cal may in the future use AERMOD.

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damages calculations).

         Courts in the Eighth Circuit are no different. For example, the District of Minnesota

excluded an expert who opined on hardieplank characteristics, yet never did any actual testing on

those characteristics. See In re Hardieplank, 2018 WL 262826, at *9; see also, e.g. In re Dicamba

Herbicides Litig., 2019 WL 6340260, at *8-9 (E.D. Mo. Nov. 27, 2019) (excluding expert at class

certification stage where he attempted to opine on contamination in soy bean fields that he never

visited); see also Henke v. Arco Midcon, L.L.C., 2014 WL 982777, at *10 (E.D. Mo. Mar. 12,

2014) (denying class certification where plaintiff’s expert “performed no statistical analysis—

offering only speculation”). Courts also exclude experts where they simply opine that their models

or opinions could be could be done “using standard techniques.” Hoekman v. Educ. Minnesota,

335 F.R.D. 219, 240 (D. Minn. 2020); see also, e.g., Morr v. Plains All Am. Pipeline, L.P., 2021

WL 4478660, at *5 (S.D. Ill. Sept. 30, 2021) (excluding mass appraisal expert at class certification

stage where expert simply opined that he could determine “impact on the value of the [class]

properties” by “utilizing a standard mass appraisal (regression model)”).

         Courts similarly reject contaminant modeling experts who fail to do the leg work required

to perform an analysis, just as Dr. Cal does here. For example, in Dickens v. Oxy Vinyls, LP, the

Western District of Kentucky rejected proffered expert testimony on odor emissions where the

expert had taken “very few samples,” “did not examine the full test results,” and merely “relied on

individual questionnaires and government documents.” 631 F. Supp. 2d 859, 865-66 (W.D. Ky.

2009).

         Tellingly, that is more than Dr. Cal has done. He has admittedly not taken any samples.

(See Doc. 56-9 at 11 (listing references).) He does not have “full test results” to even examine.




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(See id.) And just like Dickens, Dr. Cal relies on “individual questionnaires and government

documents” to claim that he can do what Plaintiffs need him to do. (See id.)

         Similarly, in Radcliff v. Tate & Lyle Sucralose, Inc., the Southern District of Alabama

excluded expert testimony in an environmental contamination case where the expert had failed to

even test for the presence of contaminants at plaintiffs’ properties. See 2008 WL 5071900, at *4

(S.D. Ala. Nov. 25, 2008). As the court explained, the expert’s “opinion boils down to asserting

that, because the plaintiffs are complaining about problems that could be attributed to chemicals

that are present at [defendant]’s plant, [defendant] must be emitting those chemicals.” Id. Put

differently, the expert’s opinion was based on “plaintiffs’ complaint of a nuisance and the fact that

it is theoretically possible for the plant to emit” sufficient chemicals to cause a nuisance. Id.

         That is almost exactly what Dr. Cal has done here. Like the excluded expert in Radcliff,

Dr. Cal bases his opinion on resident reports that “have described nuisance odors using terms such

as paint, varnish, acetone, chemical, and petroleum.” (Doc. 56-9 at 2 ⁋ 2.) He relies on Ford’s air

permit to opine that Ford is allowed to emit certain compounds which “are known to have

significant odor intensities.” (Id. ⁋ 3.) Dr. Cal admits, however, that Ford’s emissions comported

with the air permit and, in fact, were approximately 80 tons less than allowed in 2016. (Id.) In the

end, Dr. Cal opines that because there is evidence of complaints and that it is “theoretically

possible” for Ford to emit chemicals to cause a nuisance, he can establish that Ford is, in fact,

doing so. But failing to actually endeavor to do that falls short of Daubert’s requirements.3

         Thus, Dr. Cal’s opinions should be excluded.



3
  Plaintiff will likely note that the courts in Hamilton v. 3D Idapro Solutions, LLC, 2019 WL 9089916 (W.D. Wis.
Aug. 1, 2019), and Brooks v. Darling Int’l, Inc., 2017 WL 1198542 (E.D. Cal. Mar. 31, 2017), declined to exclude
Plaintiff counsel’s experts (including Dr. Cal) at the class certification stage. It is true that these courts did not exclude
the experts, but both of these courts denied class certification based in part on the failure of Plaintiff’s experts to
provide classwide evidence in those cases. Those courts reached the same conclusion that Ford seeks, just through a
different method.

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      II.       Dr. Cal’s opinion on the facility is not based on any evidence.

             Apart from his promise to conduct modeling, Dr. Cal offers that “[d]ue to the excessive

number of citizen complaints, the facility is not being appropriately managed to minimize odors

leaving the facility boundary.” (Doc. 56-9 at 2 ⁋ 2.) But that opinion does not appear to come

from having done any investigation whatsoever.

             Instead, Dr. Cal appears to base his view of “excessive” complaints on the response rate

from Plaintiff’s counsel’s solicitation of comments from mailing out data sheets. But a 1.4%

response rate can hardly constitute “excessive.” (See Doc. 56-5 ⁋ 10 (noting that “mailer went out

to 3,518 residences); Phillips Report ⁋ 68, Ex. 1.) This is especially true where Ford has submitted

declarations from more individuals saying that they never have experienced odor than Plaintiff has

identified have. (See Opp’n Class Cert. Section I.C.1.) Moreover, he appears to base his opinion

on the facility “not being appropriately managed” solely on the “excessive” complaints and the

theoretical possibility that the plant may produce emissions that, at some level, may cause the

complained-of experiences. This is not enough. See Radcliff, 2008 WL 5071900, at *4.

             Moreover, the evidence in this case contradicts Dr. Cal’s opinion. On many occasions, the

Missouri Department of Natural Resources investigated allegations of odor emanating from the

plant. Each investigation found that the plant complied with the Missouri Odor Rule, which is

incorporated into the plant’s air permit. (See Luebbering Decl. ⁋ 8, Ex. 2; Dalton Report 23, Ex.

3.)

             For these reasons, Dr. Cal’s opinion should be excluded from the outset.

      III.      Dr. Cal’s opinions are neither helpful nor a fit for this case.

             Daubert and its progeny also require that a proffered expert’s opinion be helpful, In re

Dicamba Herbicides Litig., 2019 WL 6340260, at *7, and a “fit” for the particular facts of the case,

see Loomis, 2013 WL 237479, at *3. At the class certification stage, these requirements must be

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assessed in the context of the requirements for class certification. In re Hardieplank Fiber Cement

Siding Litig., 2018 WL 262826, at *8. Here, that helpfulness and fit analysis focuses on Rule

23(a)’s commonality requirement and Rule 23(b)(3)’s predominance requirement.

       A. Dr. Cal does not purport to provide any classwide evidence that will apply uniformly
          to the class.

           Plaintiff posits that Dr. Cal can show commonality by establishing the presence of nuisance

odors “[t]hroughout the [e]ntire [p]roposed [c]lass [a]rea.” (Doc. 56 at 6.) Plaintiff goes so far as

to claim that “there is substantial evidence that the Class Area had been impacted by a common

source air polluter and to a similar degree.” (Doc. 56 at 3.)

           But Dr. Cal’s report does not go nearly as far as Plaintiff advertises. Dr. Cal posits that his

model could “determine[e] . . . which residential properties within the class area are impacted by

Ford Claycomo’s emissions and to what extent.” (Doc. 56-9 at 3 ⁋ 6 (emphasis added).) So if the

Court certifies the class area, Dr. Cal can thereafter determine which properties may have been

affected by supposed “nuisance odors.” (See id.)4 But Dr. Cal does not opine that all residential

properties have been impacted. He hedges by stating that he could determine “which residential

properties” have been impacted and “to what extent.” (Id.)

           By definition, “which properties” and “to what extent” signal that there is the possibility

that the answer is “none.” Thus, Dr. Cal concedes that there will not be class-wide impact—and

thus no class-wide evidence. Some properties may be impacted, some may not. The end result of

Dr. Cal’s work will necessarily require an individualized assessment, looking property-by-

property in the future to determine whether Dr. Cal’s model finds that each property has been

affected, if at all. Thus, Dr. Cal’s opinions do not and cannot provide common evidence to answer

supposedly common questions apt to drive resolution of this litigation “in one stroke” as required


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    Dr. Cal agrees with Ford’s expert Dr. Dalton’s definition of “odor threshold exceedences.” See Section III.D.

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by Dukes. 564 U.S. at 350.

          Plaintiff’s claim that “there is substantial evidence that the Class Area had been impacted

by a common source air polluter and to a similar degree,” (Mot. ⁋ 12), is unsupported by Dr. Cal’s

opinions for similar reasons. Though Plaintiff claims there to be a “common source air polluter,”

Dr. Cal’s hedge on the “extent” of any impact shows that he is not even sure that there exists a

“common source air polluter,” only that there is the possibility of one. The same holds true for

Plaintiff’s claim of a “similar degree” of impact. Instead, Dr. Cal’s opinions on the point appear

to amount to mere speculation void of any independent investigative analysis at all. See Morr,

2021 WL 4478660, at *6 (excluding expert at class certification stage where expert failed to offer

“analysis specific to th[e] case” related to his model); see also Henke, 2014 WL 982777, at *10

(denying class certification where plaintiff’s expert “performed no statistical analysis—offering

only speculation”).

          Moreover, Plaintiff’s claims of a “common source” and “similar degree” are belied by the

record. There exist other potential sources such as Crash Champions Collision Repair and any

number of alternative odors identified in the Class Area. (See Ex. 3 at 8 & n.8.) There exist more

individuals stating under oath that they have not been impacted at all than there are of anyone

claiming—under oath or not—that they have been impacted. (See Opp’n Class Cert. Section

I.C.1.)

          Accordingly, Dr. Cal’s own report demonstrates that he would not assist in determining

commonality. He is not prepared to say that the entirety of the class area is uniformly impacted as

Plaintiff asserts. Instead, he states the opposite.




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    B. Dr. Cal’s proposed model will require individual inquiries.

        But even if Dr. Cal might theoretically assist with commonality,5 he cannot with

predominance—a “far more demanding” standard. Amchem Prods., Inc., 521 U.S. at 624.

        A significant focus of the litigation will be the presence of any “nuisance odors” at

properties within the proposed class area. He admits that just because his model may project

“nuisance odors” at one property, it does not mean that his model will project “nuisance odors” at

any others—including a next door neighbor. (See Doc. 56-9 at 3 ⁋ 6.) Even if his model did

project “nuisance odors” at a property, testimony of the property owner herself may reveal that she

has never experienced any “nuisance odors” attributable to Ford.

        This is not an academic exercise. It is a real-world possibility. Presume that Dr. Cal’s

future model projects that “nuisance odors” were present at Plaintiff’s property and his neighbor’s

property just next door. But his neighbor says that she “has not experienced any odor while living

at [her] residence” in the last 46 years. (Kincheloe Decl. ⁋⁋ 3-4, Ex. 4.) And Plaintiff admits that

he cannot speak to his neighbor’s experience. (Thornburg Dep. 190:2-192:4 (discussing how he

“does not know” neighbor’s capability “of smelling anything” and that people experience odor

differently), Ex. 5.)

        Relying on Dr. Cal to find supposed “uniform impact” actually would not do anything other

than create thousands of mini-trials, dooming predominance. Moreover, where one neighbor

claims substantial interference but another does not, it reinforces that Dr. Cal’s opinions will not

obviate the need to conduct mini-trials. Instead, it confirms they will have to occur.

        Thus, Dr. Cal will not assist with disposition of Rule 23(b)’s predominance requirement.




5
  For the reasons explained in Ford’s Opposition to Plaintiff’s Motion for Class Certification, his report does not
support commonality either.

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      C. Dr. Cal only partially measures injury and causation.

         Compounding the problem, Dr. Cal does not seek to fully answer any causation or injury

question. Instead, the only question he looks to answer is whether odor has been “dispersed.”

(Doc. 56-9 at 9.) That question will not help determine liability or damages.

         To recover for nuisance, Plaintiff must demonstrate “significant harm” to prevail on a

nuisance claim. Sofka v. Thal, 662 S.W.2d 502, 508 (Mo. 1983). This is more than just “slight

inconvenience or petty annoyance.” Id. While Dr. Cal may opine that he can demonstrate that

“nuisance odors” may be present on any property, that would only answer part of the question—

not whether any “significant harm” has occurred, whether any alleged harm was more than “slight

inconvenience or petty annoyance,” or whether the alleged harm was even caused by the odors at

issue.

         Relatedly, Plaintiff seeks nuisance damages for “annoyance, inconvenience, and physical

discomfort.” (Compl. ⁋ 88.) Although there is no bright-line test to measure these sorts of

damages, see Owens v. ContiGroup Cos., 344 S.W.3d 717, 722 (Mo. Ct. App. 2011), Dr. Cal’s

opinion cannot even help quantify them. As discussed, all he proposes that he can do is determine

presence of odor on certain properties.

         For these reasons, Dr. Cal is neither helpful nor a fit and should be excluded.

      D. Dr. Cal’s opinions are directly contradicted by the record.

         Dr. Cal posits that he could determine the presence of “nuisance odors” in the class area.

He pegs the marker for what constitutes “nuisance odors” or “odor threshold exceedences” as odor

levels “at or greater than 7 D/T.” (Doc. 56-9 at ⁋ 3.4 (stating that “communities often define

nuisance odor levels” at this measure).) This is the same level as the Missouri Odor Rule, see 10

CSR 10-6.165, and is incorporated into KCAP’s permit, (Ex. 3 at 3 & n.4; KCAP Air Permit, Ex.

6).

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       Unlike Dr. Cal, Ford’s expert, Dr. Pam Dalton, has conducted actual work here. She

performed an odor monitoring study over four weeks consisting of over 3,500 odor readings. (See

Ex. 3 at 19.) And this odor study concluded that there were no odors detected that even approached

the level of “nuisance odors” or “odor threshold exceedences” as defined by Dr. Cal. (See id.)

       Not only that, but the Missouri Department of Natural Resources had previously

investigated odor complaints about alleged odors coming from Ford. (Ex. 2 ⁋ 9.) Despite this,

Ford was never cited for violating the Missouri Odor Rule—which is incorporated into its air

permit. (See id. ⁋ 8.)

       Thus, because the record squarely contradicts his promise of a study, his opinions should

be excluded.

                                        CONCLUSION

       For the reasons set forth above, the Court should exclude Dr. Cal’s opinions.




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                                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 9, 2022, I electronically filed the foregoing document
with the Clerk of Court using CM/ECF which will automatically send notification by electronic
means of such filing to all counsel of record in this action pursuant to the Federal Rules of Civil
Procedure and this Court’s Local Rules.

                                              /s/ R. Trent Taylor




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